Case 2:10-md-02179-CJB-DPC Document 8963-17 Filed 03/20/13 Page 1 of 3




                   Exhibit 09B
   Case 2:10-md-02179-CJB-DPC Document 8963-17 Filed 03/20/13 Page 2 of 3




                                       MEMORANDUM

TO:            Class Counsel
               BP

FROM:          Patrick A. Juneau, Claims Administrator

DATE:          January 15, 2013

RE:         Announcement of Policy Decisions Regarding Claims Administration
______________________________________________________________________________

        Under the terms of the Deepwater Horizon Economic and Property Damage Settlement
Agreement (“Settlement Agreement”), the Claims Administrator is charged with the duty to
“faithfully implement and administer the Settlement, according to its terms and procedures, for
the benefit of the Economic Class, consistent with this Agreement, and/or as agreed to by the
Parties and/or as approved by the Court.” (Section 4.3.1 of the Settlement Agreement). Further,
the Claims Administrator is charged with the responsibility to “work with Economic Class
Members . . . to facilitate . . . assembly and submission of Claims Forms, including all supporting
documentation necessary to process Claims Forms under the applicable Claims Processes . . .
[and to] provide Economic Class Members with assistance, information, opportunities and notice
so that the Economic Class Member has the best opportunity to be determined eligible for and
receive the Settlement Payment(s) to which the Economic Class Member is entitled under the
terms of this Agreement.” (Section 4.3.7 of the Settlement Agreement).

        In accordance with these provisions, the Claims Administrator has adopted the following
policies affecting the administration of claims under the Settlement Agreement. These polices
will be the subject of the 1/16/13 session of the Claims Administration Panel and are not to be
made public until after those proceedings have been concluded.

         1. Business Economic Loss Claims: Calculation of Variable Profit.

        Exhibit 4C of the Settlement Agreement sets out the methodology to be used in
calculating Variable Profit as a component of determining Step 1 Compensation.

That methodology is as follows:

   (1) Sum the monthly revenue over the period.

   (2) Subtract corresponding variable expenses from revenue over the same time period.
       Variable expenses include:

            (a) Variable Costs as identified in Attachment A.



                                                1
418993
   Case 2:10-md-02179-CJB-DPC Document 8963-17 Filed 03/20/13 Page 3 of 3




            (b) Variable portion of salaries, calculated as described below in the definition of
                Fixed and Variable Payroll Expenses.

            (c) Variable portion of COGS, calculated by excluding salary costs . . . and fixed
                expenses included within COGS, including Amortization, Depreciation, Insurance
                Expense, and Interest Expense and Contract Services.

        In performing these calculations, the Claims Administrator will typically consider both
revenues and expenses in the periods in which those revenues and expenses were recorded at the
time. The Claims Administrator will not typically re-allocate such revenues or expenses to
different periods. The Claims Administrator does, however, reserve the right to adjust the
financial statements in certain circumstances, including but not limited to, inconsistent basis of
accounting between benchmark and compensation periods, errors in previously recorded
transactions and flawed or inconsistent treatment of accounting estimates.

         2. Business Economic Loss Claims: Timing of Revenues for Purposes of Causation.

        Exhibit 4B of the Settlement Agreement sets out the methodology to be used in assessing
causation. That methodology largely concerns consideration of total net revenues before the spill
vs. total net revenues after the spill. In performing these calculations, the Claims Administrator
will typically consider revenues in the periods in which those revenues were recorded at the
time. The Claims Administrator will not typically re-allocate such revenues to different periods.
The Claims Administrator does, however, reserve the right to adjust the financial statements in
certain circumstances, including but not limited to, inconsistent basis of accounting between
benchmark and compensation periods, errors in previously recorded transactions and flawed or
inconsistent treatment of accounting estimates.




                                                  2
418993
